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                         U.S. DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONNIE OCCHIPINTI          :
                           :                  No. 4:17-cv-01978-MWB
              Plaintiff,   :
                           :
     v.                    :
                           :
GEISINGER SYSTEM SERVICES, :                  ELECTRONICALLY FILED
                           :
              Defendant.   :

     DISCLOSURE STATEMENT PURSUANT TO FED. R. CIV. P. 7.1

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the

undersigned counsel for Defendant Geisinger System Services makes the following

disclosure:

      (1) Is the party a non-governmental corporate party?

          Answer: YES

      (2) If the answer to Number 1 is “yes,” list below any parent corporation or

          state that there is no such corporation:

          Answer: Defendant’s parent corporation is Geisinger Health.

      (3) If the answer to Number 1 is “yes”, list below any publicly-held

          corporation that owns 10% or more of the party’s stock or state that there

          is no such corporation.

          Answer: Not applicable.
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                                  Respectfully submitted,

                                  s/ Jill M. Lashay
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Dated: March 2, 2018
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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and complete copy of the foregoing document

was transmitted to the Court electronically for filing and for service upon the

following parties this day:


                           Larry A. Weisberg, Esq.
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                                       By:     s/Krista M. Kiger
                                             Krista M. Kiger
                                             Practice Assistant



Dated: March 2, 2018
